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A. E-N, okay that’s the officer that I hired from Little Rock.
Now there’s a S-T-A-T-O-N ah, we have a Tony Staton and a---
Q. Well, there’s an Eric?
A. an Eric Staten, E-N and O-N; now which one are you
referring to?
Q. They’re both spelled E-N in my response.
A. Oh. Eric is E-N and Tony is O-N.
Q. Okay. But Eric is still full time?
A. Yes, ma’am.
Q. Okay, so tell me about Tony?
A. Tony was a reserve officer.
Q. What happened to him?
A He resigned also.
Q. Why did he resign?
A. Because I was eliminating the auxiliary program. I didn’t
have any complaints on him; not a one.
Q. So if he wanted to go full time he still would have been
with the force?
A. I didn’t hire him so I can’t answer that question. I would
have to do another background investigation and do all of that.
Q. But he was reserve at the time?
A. Yes, ma’am.
Q. So could he have said can you move me to full time?
A. I would have to do an investigation even for the, from the
reserve officer to become a full-time officer.
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Q. So would you have?
A. I'm sorry?
Q. Would you’ve considered really hiring him for full time?
A. I would have considered but chances are I wouldn’t have
hired him.
Q. Why?
A. Well, he didn’t have the stamina and he wouldn’t follow up
on things and his report writing was horrible.
Q. Okay. And what about George Craig?
A. Now he was a reserve officer for about two months and he
left and took a job with the federal people.
Q. Okay. Well, it says 4/11 to the present; is he no longer
presently wor---
A. He hasn’t been there--that’s what I put in that statement?
Q. Yes; he, George Craig and Sheryl Craig?
A. No, they were only there for about two months.
Q. Okay.
A. That's incorrect.
Q. Okay. Natosha Sims?
A. I just hired her about three or four weeks ago and she
resigned last week--I mean, she resigned this week.
Q. Okay.
A. She moved to Florida.
Q. So and I’m pretty much talking about the officers, you
know, that you've hired during the time that the incident took
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place. There were about five officers I guess that came in
Brad Williams’ class?

A. For the reserve class?

QO. Yes.

A. It may have been six; it could have been five---
Q. Five or six, that’s good; I’m not going to hold you to it.
A. That’s fine, yes.
Q. And so that would have been Watson and who else?
A. Watson, Blankenship, Staten, Staton, Oscar Deleon, and
Calvin Reed--oh, I’m sorry and Patrick Thompson was a part of
that.

Yes, because they’re on the same role class.

Yes.

Ah, and you hired all of these individuals?

Q
A
Q
A. The ones that came on as police officers-—--
Q. Uh-huh.

A. Yes, I hired them.

Q And do you feel you’ve made good decisions with regards to
their hiring?

A. Yes, ma’am.

Q. Okay. Did you ever have to reprimand Mr. Watson, Officer
Watson?

A. No, ma’am.

Q. Okay. Did he ever receive any verbal reprimands?

A. No ma’am,.

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QO. Okay. Did he receive any reprimands for what happened at
Pocahontas?
A. Ah, no because it happened in Pocahontas on their campus.
Q. Okay. And after he left Pocahontas did you allow him to
come back and work?
A. He worked about, about three weeks, I conducted the
investigation before I made a decision. I just couldn’t fire
him, terminate him because of what happened in Pocahontas, I
wanted to find out for myself.
Q. Were you concerned about putting him back on the street
knowing that he had the altercation with four other law
enforcement officers?
A. Three other,
QO. Three other; thank you. Did that give you any concerns?
A No, ma’am, because I read what happened up there---
Q. What happened?
A. It’s not a typical but young police recruits they like to
talk about what they have done in their city and what goes on
in their city, someone made a joke about Alexander being a
small hick town and he took offense to it. His roommate was
from Smackover and it escalated from that and then it got to
yelling and you just don’t do that at the training academy.
Q. So was yelling the extent of the altercation?
A. Yes,
Q. Was there any physical or use of force?
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None.

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Not use of force but no physical action?
None.

Okay. Have you ever suspended any of your officers?

°

Yes, ma’am.
You’ve only been there since 2010 as I remember---

Yes.

Which ones have been suspended?
I suspended Staton---

Which Staton?

Eric Staton---

Eric Staton, okay.
Ah, he drove his car to a firing range without permission.

Okay. So what sort of suspension did he receive?

°

Three days.

Is that three days without pay?

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That’s correct but I did allow him to use vacation in lieu

Oo
Fh

the suspension days.

Q. So he still got paid?

A. Yes, but he loss three days of vacation.

Q. Any other officers?

A. I don’t think so.

Q. Okay. I’11 just go through them real quick because I want
to make sure that I’m getting all of the officers that might

have had any reprimands, suspensions, et cetera, et cetera.

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A. Okay.
Real quick. Tim Blankenship?
No, disciplinary actions.

Oscar Deleon?

None.

John Fenton?

None.

Jonathan Calma?
I think I may have given him a verbal warning.
Okay. Willie Jordan?

No disciplinary action.

.

Robert Hawkins?

None.

Brent Lawrence?

.

None.
Michael Murray?
None.

Mark Ridgeway?

None.

Jeff Watson?

None.

.

Christy Dillavou?

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None.

Q. So ah, Officer Alvarado. Oh, I can’t pronounce his name,

how do you pronounce his first name?

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Alvarado, that’s his last name. Ah, Joaquin
Joaquin?

Yes.

- Ah, Derrick Jackson?

» None.

- Jose Padilla?

- None.

- Eric Staton?

- I just told you, yes.
Calvin Reed?

None.

A
Q
A
Q
A
Q
A
Q
A
Q
A
Q
A None.
Q

. Winberry?

Ah, let’s see; we don’t know about Mr. Shell. Brad
Williams?
A. None.
Q. Cummings?
A. None.
Q. Thompson before he was terminated? That’s okay we’ll move
on.
A. Home,
Q. we'll move on. I mean he didn’t have any before he was
terminated; correct?
A. No, ma’am but it--no.
QO. Chris?
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A. None.

Q. ah, he predated you--well, he almost predated you; interim
chief so--we’'ll go on. Dennis Eckmann?

A. None.

QO. Cain Maxheimer?

A. I don’t even know him.

Q. Okay. Allen Spears, chief before you; Tony Staton?

A. None.

Q. And then George and Cheryl Craig?

A None.

Q. And Natosha?

A None.

QO Okay. And then I want to ask you about Michael Murray.
Did Michael have any problems before you hired him? Anything
that would have given you concern?

A. Yes, he had an altercation with a girlfriend.

QO. I’m sorry, was that the one that had the altercation?

A. No, no, this is Michael Murray; yeah this, this was before
I came on and I had difficulty finding the report; all I had to
go on was word of mouth and I called him in and ask him about
it prior to his hire.

Q. Okay. And what did you find out?

A. That he was desponded because his girlfriend had left him.
Q. But nothing else gave you cause for concern?

A. No.

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Q. Ah, I believe at one of the city council meetings or
something one of the city council people raised some issue
about him being suicidal; do you remember that? Michael
Murray?

A. I heard something about it but I don’t think it was at,

that was not brought up in council meeting I don’t think.

Q. Well, I’m getting information third and fourth-hand.
A. Yeah.

QO. Was it ever brought up?

To me?

Uh-huh.

A.
Q
A. No.
Q. Did you ever hear those rumors?
A. Yes, I did the night of his introduction to the council
some citizen came up and told me that but then that was his or
her opinion though and I find out there was some problem
between the two families.
Q. Okay. So you investigated it?
A. No, I did not. I found that out afterwards.
Q. No, I mean when you found that out did you investigate it?
A. No, because he was already on and I didn’t find anything in
his background that would allude to him being suicidal. If he
were I would not have hired him.
Q. But once you did hire him you found out that something,
there might be some sort of flag that’s suicide, being
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suicidal?

A. That’s when I called him in again and asked him about it
and he told me the exact same thing again.

Q. I’m not going to characterize that as an investigation
hearing about that---

A. I didn’t say that it was an investigation, I said I called
him in and asked him about it.

So you inguired further after you found out?

.

°

After I was told; I didn’t find it out.
Okay. And you kept him on the force?
Yes, I did.

And let’s see, Odom has never been reprimanded; correct?

.

Who?
I’m sorry, I was looking at the wrong one; Blankenship?

No, he has not.

And he’s with the fire department right now; right?

Yes, ma’am.

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Okay, all right. Tell me more about the training. I

believe Officer Watson at the time of the incident was part II?
A. Part II, yes.

Q. Okay. So exactly what training does a part II officer?

A. He had the reserve training plus he rode with Officers Eric
Staton for two weeks.

Q. Okay. And ah, after that you thought that he was qualified

to go on the street by himself?

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A. Yes, ma’am; I sent all of this information out to Arkansas
Minimum Standards that he was on the street and I felt that he
could operate as a single unit.

QO. Okay. At one time was there a policy that ah, your
officers had to do a five-week training with another officer?
A. With Alexander?

Q. Uh-huh.

A. Sometime I would if I, if I felt it necessary that an
officer needed some additional training and I have ongoing
training at all times so it’s just not necessarily a standard
five weeks, that’s something I instituted upon myself.

Q. Okay. So Officer Watson had two weeks in the patrol car?
A. Yes, with a senior field training officer, Officer Eric
Staton.

Q. Okay. And then what other training did they receive?
There’s the two weeks in the car; and how many hours of---

A hundred and ten.

A hundred and ten of classroom training?

Yes.

Do you need some water?

No, I'm fine. Classroom training plus firearms training.

*

Okay. And then how long is the classroom training?

It’s usually about---

.

Is there like a minimum amount of time?

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No, they just have to make sure they complete those one

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hundred and ten hours.
Q. Okay. So a hundred and ten hours of classroom training---
A. Yes.
Q. and two weeks in the car?
A. Yes.
Q. Okay.
A. And continuously ongoing training. I have them to go on
line and do training.
Q. Okay. And then during that classroom training ah, are
they, do they have a class in Arkansas Criminal Code?
A. Yes, ma’am; that’s taught by, that was taught by Officer
Fenton.
Q. Okay. Tell me about that class; what do they learn?
A. They learn the Arkansas Criminal Codes, excuse me, what the
appropriate charge would be, when to charge someone and even
how to conduct an investigation leading up to charges.
Q. Okay. And does Alexander city, do y’all have a training
manual?
A. Ah, I have a policy manual that covers everything.
Q. Okay. I believe I received copies of your policy manual.
Ah, was that policy manual in effect in 2011?
A. No, that one was not but another one was.
Q. Which one was?
A. The one that was ah, it was done by Allen Spears.
FUQUA: Which one was done by Allen Spears?
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WALTERS: The one that was there when I came
onboard in 2010.
Q. So the one that in existence in 2010 that was in effect
2011?
A. Yes, ma’am.
Q. And the reason I’m asking because I remember we had a
conversation a long time ago where I asked you about a policy
manual and you said well, Alexander has one but it hasn’t been
adopted by the city council?
A. That’s the one that’s in place now---
Q. Okay.
A. because I was on a staff with twenty seven other chiefs of
police, this policy manual was adopted and approved by the
Arkansas State Police ah, the Attorney General’s Office and

then it’s three other agencies-—--

Yes, uh-huh.

°

- But that’s the one you have now?

Q
A
Q The one you have now wasn’t in effect in 2011?

A. That is correct.

Q. Okay. I just want to make sure that when I go back and

look I’m looking at the right one.

Ay Yes.

Q. Is there anyway I’d be able to tell that I’m looking at the
right one?

A. Oh, yeah.

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Q. Does it have it on the coversheet?
A. Yes, mine is totally different from the one from 2010.
Q. Okay, so I'll be able to tell the difference; all right.
What about any oral policies; did you have any not written but
oral policies that you kind of gave to your deputies--what do
you call them your law enforcement officers?
A. Law enforcement officers.
Q. I’m just going to call them officers.
A. That’s okay.
Q. Okay, thank you. Do you have any oral policies that you
issued to your officers?
A. Yes, ma’am. I expect their cars to be clean at all times;
I expect their uniforms to be clean and pressed at all times; I
expect them to try to buy fuel in the City of Alexander; and I
also tell them about gossiping and talking really, things of
that nature.
Q. Okay, all right.
A. Those or oral.
Q. The last of this question---
A. It’s okay.
Q. All right. Are the oral policies memorialized or written
anywhere?
A. Some are in the new policy manual about the conduct of
officers; yes.
Q. Okay. I know those are oral but you might have written
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them down and placed them some were. Do you know if that ever
happened?
A. Because the next chief might come along and he might care
if they didn’t wear long sleeve shirts in the summer time.
Q. Did you have an oral policy regarding the ah, disposition
of offenders in certain offenses. For example, ah, if you were
arrested for having ah, not having ah, car tags would you have
a policy stating that those individuals had to be detained in
jail?
A. No, but I think it was a ah, not, not having automobile
license no that’s, that’s, I haven’t seen that in anyplace.
Q. No, no I'm just asking if you had any policy like that?
A. No, no, no I did not and do not.
Q. What about certain offenses for example ah, I’m trying to
think of offenses were you can write a citation or ah, drinking
in public. Did you have an oral policy that if an officer
suspected someone drinking in public that they had to be
brought to jail?
A. The would have to follow state law and that’s what I have
instructed them to do.
Q. Okay. What is the state law regarding that?
A. If a person is intoxicated in the public view and not on
his or her, I think it’s domain and causing alarm I can’t quote
it verbatim but that’s basically it.
Q. Okay. Do they have to be, because I know sometimes and I’m
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thinking college days you know like in Fayetteville if someone
drinking in public or something, you know, they would just get
written citation as opposed to being hauled off to the
Fayetteville slammer?

A. Okay. I let them use their on discretion if it’s like the
first time a person is not, you know, causing a problem
resisting and, you know they can but if a person is being
beleaguerant and causing public alarm, take them to jail, yes.
Q. Yeah, but I’m just saying do you have a policy like ah,
drinking in public had to be carded down to jail?

A. No, I don’t have that, no ma’am.

Q. Okay. Do you have any policy regarding ah, officers
turning on their blue flashing lights?

A. Okay, in activating yes---

0 Yes---

A there is a policy for that, yes.

Q. okay. What’s that policy?

A. Ah, if it’s ah, creating a hazard if you stop at someone
and you stop them on a courtesy policeman blue lights must be
on, if you stop anybody basically for anything your blue lights
have to be turned on so people can visually see that you are
the police.

Q. Okay. And is these a written policy or an oral policy?

A. It's written, it’s in the policy manual.

0. The old one?

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A. It’s in the old one too, yes but it’s definitely in the new
one.
Q. Have you ever received any complaints about officers not
turning on there blue lights?

Yes, ma’am but it was prior my administration.

Okay. So how did you receive the complaints?

They came in a told me about it after.

I told them I would look into it---

A.
Q.
A.
Q. Okay. So what did you do after people complained?
A.
Q. Okay.
A. but and I also explained to them, you know that happened
prior to my administration and I couldn’t go back and
investigate something I didn’t have the information on.
QO. Correct, but did you do anything like say, look I received
to your current officers such as I received complaints this
make sure this happens.
A. Oh, I talk to my officers about the procedures almost
weekly it’s just it’s ongoing you have to do that in a small
town with a small amount of officers. Where I came from at
Little Rock I had a 164 out here I have six and we would have
in service training in Little Rock and I conduct informal in
service training with my officers in Alexander.
Q. So you officers would have known that you expect the blue
lights to be on?
A. Yes, ma’am.
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Q. All right. Did you have oral or written use of force
policy?

A. I have a written policy yes, ma‘am.

Q. That was in affect, when I ask you these things I mean all
the policy or whatever that would in affect 2011?

A. Yes, ma’am that’s in the old policy manual because I read
it I know it’s there.

QO. Okay, tell me what is the use of force?

A. Ah, I can't quote it to you verbatim it’s my job---

Q. I’m not going to ding you if it’s not verbatim but just
generally?

A. Use of force if, if the officer feel threaten with himself
or someone else and they have to control him or her and you see
a need to prevent an escalating, you know, go ahead an use
force if your life is going to be in danger or someone else.

Q. Okay. Well tell me about the permissible force because

there’s ah, what’s the word continuum force---

A. Yeah, continuing force, yeah.
Q. so tell me about the continuum?
A. I have trained my officers to try to use the minimum force
necessary to affect and arrest. And they know that’s what I
expect and if a person, you know goes beyond that use of
continuum force and if an officer is struck or is striking
someone, I’ll give you an example, a lady was being attacked by
her boyfriend an officer got called and he continued to fight
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his girlfriend and when the officer tried to get him off her he
turned around and struck the officer and that's, that’s if
they, you know, he had to use force to keep him from getting
hurt as well as the victim.

Q. So what, so what is the, well put it like A, B, C, Dor 1,
2, 3 on the continuum. What’s number one?

A. Number one is verbal.

QO. So number one is not pepper spray?

A. No, no I always teach them to try to talk to them first
then pepper spray is second---

Q. And then what’s third?

A Third is whatever is necessary to affect the arrest.

0. And then what’s fourth?

A Ah, fourth is the ultimate is deadly force.

Q. Okay. And then ah, are the officers, are all your officers
trained in this policy?

A. Yes, ma’am.

Q. You think they’re all aware of the policy?

A. Oh, yes ma’am.

Q. How do you know you seem so sure?

A. Because I asked them about it, if they have questions about
it when I have routine meetings with my officers I ask them
about things like this.

Q. Did you ever ask Jeff Watson?

A. No, I did not.

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Q.

A.

Q.

A.

Q.
A.
Q.
A.

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Why not?

I just didn’t have an occasion to because he was working

nights most of the time and I would be in my office between

five and six, six-thirty.

So you never found out if Mr. Watson was aware or knew the

Use Force Policy?

Yes, because that was taught to them as a Reserve Officer

and plus my FTO my Field Training Officer instructed them and

they signed off that they’ve been schooled on Use of Force.

Q. So you feel certain that he did know the use of force
policy?

A. Yes, she did.

QO. But you never asked?

A. I did not ask him.

Q. But you’ve asked other officers?

A. Yes.

Q. Okay.

A. I haven’t all of my officers but I recently asked some of

them, especially my new officers.

Is Jeff Watson a new officer?

Fairly new; yes.

Did you ever ask Mr. Blankenship?

No, I didn’t because he was a reserve officer.

Okay. I’m going to hand you this, I guess, Biased Law

Enforcement Practices. Thank you Ms. Cobb. Tell me what is

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this policy?

A. Biased Law Enforcement Practices.

Q. Where did it come from?

A. This was on board when I came on and this is part of the
old policy manual.

Q. Okay. So this would be the policy manual in effect?

A. Yes, it is.

Q. In 2011?

A. Yes.

Q. Okay. So they’re not numbered but I guess the third page
maybe.

A. Okay. On the back or on the front?

QO. Ah.

A. Just tell me the first line on that.

Q. E, Racial profiling.

A. Okay.

Q. It says training ah, it says number 2, it says there in an

annual in-service training. Do you know if that in-service

training was done in 2011?

2011; yes, ma’am because by state law all officers have to

attend a racial profiling seminar--

Q. And how would that---

A. and if they don’t then I have to answer why.

Q. How do you document that the officers has attended this
seminar?

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A. It’s in their personnel files each officer has that in
their personnel file that is conducted each year.

Q. Okay. And I’m asking you because I didn’t see anything
reflected in Jeffery Watson’s personnel’s file?

A. Yes, he has racial profiling classroom training as well and
I even have them to go on line after they have it there in the
office.

Q. Okay. So where in the personnel file would that be
reflected?

A. Just inside the personnel file.

QO. Is there a certificate?

A. Yes, ma’am,

Q. Okay. If there’s no certificate or other indication in Mr.
Watson’s personnel file what would that mean?

A. That means it’s been misplaced but you can rest assured I
can find it.

QO. Is there any independent way to check or verify it?

A Through stand--Arkansas Minimum Standards.

Q. Do you send their names in after they attend this session?
A Yes, ma'am, you have to.

0 Okay. So again if I check with standards I'll see when Mr.
Watson---

A. Yes, ma’am.

QO. took this class?

A. Yes, ma’am.

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Q. Okay. Do you know who conducted that class?
A. Oh, it’s different ones ma’am. Sometimes I send them to
Saline County and sometimes I use CJI, Arkansas Criminal
Justice Institute commonly called CJI, they have instructors
and I send them to them and they also have an on-line training
I send them to because Alexander had a racial profile lawsuit
successfully filed against them and me being a minority, I make
sure that this does not happen.
Q. Okay. Would you flip one more page to a big C, Citizen
Complaints of Biased Law Enforcement Practices?
A. Okay.
Q. Have you ever received any complaints of biased law
enforcement practices?
A. No, ma'am; not since I’ve been chief.
Q. Did Mr. Doss ever complain of biased law enforcement
practices?

Not to me; no, ma’am.

Do you know if he ever submitted any complaints?

This young man?

And by the way I never knew him until just now.

A

Or

A

QO. Yes.
A

Q I forgot, I’m sorry; this is Christopher Doss.
A.

I didn’t know what he looked like, I've only seen him off

distance. Not from him; no, ma'am.

QO. Okay. I’m going to talk---

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WALTERS: Do you want this back or do we also
keep it?

FRAZIER: No, if we can do that as an exhibit
Ms. Cobb.

REPORTER: Thank you.
Q. I’m going to hand you a citizen’s Complaint from
Christopher Doss to your attention.
A. Okay.
Q. And it’s dated December 13, 2010.
A. Yes ma’am.
QO. Are of aware of this complaint?
A. No, ma’am because you can check anyplace in any file that I
have anyplace you will always see my initials and a date
acknowledging it.
Q. So you never received this?
A. I've never seen this before; no, ma’am.
Q. Okay.
A. Question; you said that this young man gave me this form?
Q. Well, I don’t know if I can really answer questions. I’d
have to ask Mr. Doss how you received that.
A. There, he’s sitting there.
Q. It was delivered to the police department.
A. Anything that is brought to the police department you will
find my initials and a date on it. Not some but all that comes

to me.

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Q. Okay. Well, that just could have just been the copy that
they retained; that could have been the copy that was in their
files.
A. Oh, okay.
Q. So do you understand what I’m saying?
A. I understand what you’re saying.
Q. So it might be somewhere floating around.
A. Okay, no problem.
Q. Okay. But you say you’ve never seen it; we will move on.
I did not see any use of force reports ah, filed in the last
three years; have there been any use of force reports?
A. Yes, Brad Williams had one at his station and that’s when
he pepper sprayed someone.
Q. Okay. Is that it you can recall?
A. Yes, ma’am.
Q. Okay. So just Brad Williams?
A. That’s the only one I can recall.
A. Because I instruct my officers to use the, the minimum
force to make an arrest to, to avoid a ton of paper work but I
also insist that they be careful and not get themselves hurt.
But I, I strongly believe in not using force unless you just
have to affect an arrest.
Q. And then what happened after ah, Brad use the pepper stray?
A. He, the, the suspect was arrested.
Q. Okay. I mean did you investigate?
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